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James Otis Law Group, LLC
13321 North Outer Forty Road, Suite 300                                  D. John Sauer
St. Louis, Missouri 63017                                      John.Sauer@james-otis.com
(314) 562-0031



                                  November 24, 2023

Mark J. Langer
Clerk, U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue NW
Washington, DC 20001

Re:   United States v. Trump, No. 23-3190 - Response to Special Counsel’s Rule
      28(j) Letter

Dear Mr. Langer:

       The prosecution’s 28(j) letter cites a submission, in a completely separate case,
to the New York Appellate Division containing “new” information that dates to
October 3, 2023, see Rule 28(j) Letter, Ex. E, ¶ 5—two weeks before the Gag Order
in this case was entered on October 17. The letter is an impermissible attempt to
supplement the record on appeal with irrelevant information that could have been, but
was not, submitted to the district court below.

       To date, the prosecution has never submitted any evidence of alleged “threats”
or “harassment” to any prosecutor, court staffer, or potential witness in this case. This
falls short of the “solidity of evidence” required to justify a prior restraint. Landmark
Commc’ns, Inc. v. Virginia, 435 U.S. 829, 845 (1978).

      Moreover, the cited affirmation, albeit irrelevant, concedes that “Mr. Trump did
not directly threaten Ms. Greenfield,” id. ¶ 5, and instead describes speech by
unidentified, independent third parties. Id. ¶ 9. This confirms that the prosecution
seeks to impose “a speech burden based on audience reactions,” which “is simply
government hostility and intervention in a different guise.” Matal v. Tam, 582 U.S.
218, 250 (2017) (Kennedy, J., concurring in part and concurring in the judgment).

      The prosecution ignores that the New York trial judge and the Principal Law
Clerk are judicial officers, and the Principal Law Clerk has violated New York law by
engaging in forbidden partisan activity while that case was pending. Appellant’s
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Reply Br., at 8-9. “The operations of the courts and the judicial conduct of judges are
matters of utmost public concern.” Landmark Commc’ns, 435 U.S. at 839.

      The Special Counsel has brought an inflammatory, lawless indictment; has
made false and misleading statements about President Trump; and has leaked
confidential information in order to harm President Trump. Appellant’s Br. 9-10.
Both the indictment and the Gag Order represent an unconstitutional attempt to silence
President Trump; they are clearly election interference. Cf. Monitor Patriot Co. v.
Roy, 401 U.S. 265, 272 (1971) (“[T]he constitutional guarantee has its fullest and most
urgent application precisely to the conduct of campaigns for political office”).

Dated: November 24, 2023               Respectfully Submitted,

LAURO & SINGER                         JAMES OTIS LAW GROUP, LLC

John F. Lauro                          /s/ D. John Sauer
400 N. Tampa St., 15th Floor           D. John Sauer
Tampa, FL 33602                        William O. Scharf
(813) 222-8990                         Michael E. Talent
jlauro@laurosinger.com                 13321 N. Outer Forty Road, Suite 300
                                       St. Louis, Missouri 63017
BLANCHE LAW                            (314) 562-0031
                                       John.Sauer@james-otis.com
Todd Blanche
Emil Bove                              Attorneys for President Donald J. Trump
99 Wall St., Suite 4460
New York, NY 10005
(212) 716-1250
toddblanche@blanchelaw.com


cc: Counsel for Appellee
